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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Lisa Johnson
                                    Plaintiff,
v.                                                     Case No.: 1:24−cv−03208
                                                       Honorable Thomas M. Durkin
Amazon.com Services, LLC
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 3, 2024:


        MINUTE entry before the Honorable Thomas M. Durkin: Unopposed motion for
extension of time to respond to plaintiff's complaint [4] is granted. Defendant is to answer
or otherwise respond to plaintiff's complaint by 6/27/2024. The 7/1/2024 joint status
report deadline is extended to 7/11/2024. Mailed notice. (evw,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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